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November 3, 2014

Mireille Mesias v. Cravath, Swaine & Moore LLP:
No. 14-cv-7070 (PAC)

Dear Judge Crotty:

Pursuant to your Honor’s Rule 3(D), I write on behalf of Defendant Cravath,
Swaine & Moore LLP (“Cravath”) to set forth the bases for its anticipated motion to dismiss the
Complaint filed by Plaintiff Mireille Mesias and to request that the Court schedule a pre-motion
conference. (Cravath is representing itself in this matter.)

A. The Complaint Fails To Allege Unlawful Discrimination Under Federal Law.

No matter which theory Plaintiff pursues—national origin, age and/or gender-
based discrimination—and assuming the truth of the allegations, the Complaint fails to state a
claim for discrimination under Title VII of the Civil Rights Act of 1964 (“Title VII”) or the Age
Discrimination in Employment Act of 1967 (‘ADEA”): it does not allege circumstances giving
rise to a plausible inference that Defendant took an adverse employment action against Plaintiff
“because of” a protected characteristic. See Henry v. N.Y.C. Health & Hosp. Corp., 2014 WL
957074, at *6 (S.D.N.Y. Mar. 10, 2014); Vargas v. Reliant Realty, 2014 WL 4446165, at *5-6

(S.D.N.Y. Sept. 9, 2014).
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1. The Complaint Does Not Raise an Inference of National Origin Discrimination.

With respect to her claim of national origin discrimination, Plaintiff alleges that
she “was the only one of her similarly situated colleagues who was Haitian” (Complaint 4 8), and
states that she received less-favorable treatment related to vacation scheduling than “a non-
Haitian colleague” (id. { 13). That Plaintiff may have been the “only” Haitian word processing
specialist at Cravath is insufficient to raise a plausible inference of discrimination. See De La
Pefia v. Metro. Life Ins. Co., 953 F. Supp. 2d 393, 403, 413 (E.D.N.Y. 2013). Likewise
insufficient is Plaintiff's conclusory allegation of disparate treatment. (See Complaint 4 13.)

The Complaint fails to state—let alone plead any facts to suggest—that the person permitted to

“borrow” vacation days was “similarly situated” to Plaintiff. See Green v. Dist. Council 1707,

 

2014 WL 3734101, at *5-6 (S.D.N.Y. July 29, 2014); Henry, 2014 WL 957074, at *7;
Almontaser v. N.Y.C. Dep’t of Educ., 2014 WL 3110019, at *7 (E.D.N.Y. July 8, 2014).

2. The Complaint Does Not Raise an Inference of Age or Gender Discrimination.

With respect to her claim of discrimination based on age and/or gender, the

Complaint alleges that Plaintiff overheard her supervisor make two comments about
“menopausal women”. (See Complaint {§ 18, 24.) However, the Complaint does not even
attempt to connect these statements to Plaintiff's ultimate discharge from Cravath (or to any
other adverse employment action). Therefore, the two stray remarks—made over a year apart
during the ten-year period at issue and utterly lacking any nexus to an adverse employment
action (Plaintiff's termination occurred more than three months after the second remark)—
cannot support a plausible inference of discrimination. See De La Pefia, 953 F. Supp. 2d at 413;
Henry, 2014 WL 957074, at *7-8; Thompson v. ABVI Goodwill Servs., 2013 WL 505491, at *4-
5 (W.D.N.Y. Feb. 8, 2013); Kouakou v. Fideliscare N.Y., 920 F. Supp. 2d 391, 399 (S.D.N.Y.

2012) (finding comments were not probative of discriminatory animus where, among other
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things, the comments were made 4-5 months before plaintiff's termination, and citing cases with
similar holdings).!
3. The Complaint Does Not Plead a Hostile Work Environment.

The Complaint also fails to state a claim under Title VII and the ADEA based on
a theory of hostile work environment. According to the Complaint, Plaintiff overheard two
inappropriate comments and received disciplinary warnings and negative performance
evaluations. Even if Plaintiff alleged that Defendant took these actions “because of” a protected
characteristic, the Complaint would still fail to state a hostile work environment claim, as the
conduct alleged is neither severe nor pervasive. See Almontaser, 2014 WL 3110019, at *7-8;
Smith v. HBO, 2013 WL 2285185, at *3 (E.D.N.Y. May 22, 2013).

B, The Complaint Fails To Allege Unlawful Discrimination Under State Law.

For the reasons provided above, the Complaint also fails to state a claim for
discrimination under the New York State Executive Law (“NYSHRL”) and the New York City
Administrative Code (“NYCHRL”), See Acosta, 2012 WL 1506954, at *4-8 (dismissing claims
brought under NYSHRL and NYCHRL along with federal discrimination claims); Henry, 2014
WL 957074, at *12 (dismissing discrimination claim brought under NYSHRL along with Title
VII discrimination claim). At the very least, the Court should decline to exercise jurisdiction
over Plaintiff's state law claims, because her federal law claims should properly be dismissed.

See Ivanov v. N.Y.C. Transit Auth., 2014 WL 2600230, at *7-8 (S.D.N.Y. June 5, 2014).

 

"Not only does the Complaint fail to allege that Plaintiff suffered an adverse employment action “because of” a
protected characteristic, it notes that malfunctioning software “creat[ed] the illusion that [Plaintiff] was derelict in
fulfilling her job duties” (Complaint ¢ 14), and avers that “the scrutiny leveled against [Plaintiff] and her
performance increased” after Plaintiff “complained about how distribution of work assignments unfairly affected”
her (id. { 17)—-non-protected activity. Therefore, the Complaint should also be dismissed because it offers non-
discriminatory explanations for Defendant’s actions towards Plaintiff. See Acosta v. City of New York, 2012 WL
1506954, at *5 (S.D.N.Y. Apr. 26, 2012); McJunkin v. Suffolk Cnty. Civil Serv., 2014 WL 3490720, at *4-5
(E.D.N.Y. July 10, 2014).

* While a hostile work environment need not be severe and pervasive under the NYCHRL, “petty slights and trivial
inconveniences” are not actionable. Sosa v. Medstaff, Inc., 2013 WL 6569913, at *6-7 (S.D.N.Y. Dec. 13, 2013).

 
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